
PER CURIAM.
Edward Woodard appeals the summary denial of his motion for jail time credit. The trial judge denied the motion without attaching to her order any portion of the files or records to refute appellant’s allegations.
Accordingly, we reverse the trial court’s denial of appellant’s motion and remand the case. On remand, unless the files and records of the case conclusively show that the appellant is entitled to no relief, the court shall order the state attorney to file an answer within a time certain. After receipt of the answer, the court shall determine whether an evidentiary hearing is required. If the court should again deny appellant’s motion, he has thirty days in which to appeal.
Reversed and remanded.
DANAHY, A.C.J., and FRANK and PARKER, JJ., concur.
